           Case 2:10-cr-00423-KJM Document 63 Filed 11/03/11 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )    Case NO. 2:10-cr-0423 KJM
                                      )
12                     Plaintiff,     )    Order After Competency Hearing
                                      )
13        v.                          )
                                      )
14   KENYATTA ALLEN,                  )
                                      )
15                     Defendant.     )
                                      )
16                                    )
17
18                                        ORDER
19        On August 10, 2011, counsel for the defendant filed a
20   memorandum declaring a doubt as to the competency of his client,
21   Kenyatta Allen.    (Doc. 41).   Based on the representations of defense
22   counsel, and the lack of opposition by counsel for the government,
23   the court determined that “there was reasonable cause to believe
24   that the defendant may be suffering from a mental disease or defect
25   rendering [her] mentally incompetent to the extent that [she] is
26   unable to understand the nature and consequences of the proceedings
27   against her or to assist properly in the defense.”         18 U.S.C.
28   § 4241(a).   Accordingly, the court set a date for a competency

                                            1
              Case 2:10-cr-00423-KJM Document 63 Filed 11/03/11 Page 2 of 2


 1   hearing and appointed Dr. Bruce W. Ebert clinical and forensic
 2   psychologist, to conduct a competency evaluation to determine
 3   whether the defendant is competent to stand trial.            (Docs. 45, 49).
 4           Dr. Ebert examined the defendant over the course of two days
 5   and produced a report to the court, with copies provided to counsel
 6   for the government and the defendant.          18 U.S.C. § 4247(c).      That
 7   report, which has been filed under seal, complied with the
 8   requirements of section 4247(c) and concluded that the defendant is
 9   competent to stand trial.
10           On October 27, 2011, the parties appeared before the court on
11   the date set for the competency hearing.          18 U.S.C. § 4241(c).         The
12   government and the defendant stipulated that, if called as a
13   witness, Dr. Ebert would testify to the conclusions set forth in his
14   report, to wit, that the defendant “is able to understand the nature
15   of the charges and is able to assist her counsel in her defense in a
16   rational manner.”      Neither the government nor the defendant
17   submitted any additional evidence for the court’s consideration
18   regarding the defendant’s competency to stand trial at the hearing.
19   18 U.S.C. § 4247(d).
20           The court has read and considered Dr. Ebert’s report.            The
21   court finds that the defendant is able to understand the nature and
22   consequences of the proceedings against her and to assist properly
23   in her defense.      Accordingly, the defendant is competent to stand
24   trial
25           IT IS SO ORDERED.
26   Dated:    November 2, 2011.
27
28                                           UNITED STATES DISTRICT JUDGE


                                             2
